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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                                  Case Number: 9-18-cv-80257-RLR

  MABELLE MEYAART
  a/k/a MAI MEYAART,

         Plaintiff,

  v.

  TRAVEL LEADERS GROUP, LLC,
  d/b/a and s/k/a TRAVEL LEADERS GROUP,
  NINAN CHACKO and JOHN LOVELL

        Defendants.
  ______________________________________/

                                JOINT STIPULATION FOR ENTRY OF
                                AGREED CONFIDENTIALITY ORDER

         Plaintiff, Mabelle Meyaart a/k/a Mai Meyaart and Defendants, Travel Leaders Group,
  LLC d/b/a and s/k/a Travel Leaders Group, Ninan Chacko and John Lovell (collectively, the
  “Parties”) by and through their undersigned counsel, jointly stipulate and move the Court for entry of
  the Agreed Confidentiality Order, attached hereto as Exhibit “1.”
         Respectfully submitted on this 18th day of May, 2018.

  By: Steven L. Schwarzberg          By: Cheryl L. Wilke               By: Kelly B. Holbrook

  Steven L. Schwarzberg, Esq.       Cheryl L. Wilke, Esq.              Kelly B. Holbrook, Esq.
  Fla. Bar. No.: 0306134            Fla. Bar No.: 893780               Fla. Bar No. 527084
  SCHWARZBERG &                     HINSHAW & CULBERTSON               BROAD AND CASSEL LLP
  ASSOCIATES                        LLP                                Counsel for Defendants, Ninan
  Counsel for Plaintiff             Counsel for Defendant, Travel      Chacko and John Lovell
  2751 S. Dixie Highway             Leaders Group                      100 North Tampa Street
  Suite 400                         One East Broward Boulevard         Suite 3500
  West Palm Beach, FL 33405         Suite 1010                         Tampa, Florida 33602
  Tel: (561) 659-3300               Ft. Lauderdale, FL 33301           Tel: (813) 225-3020
  Fax: (561) 693-4540               Tel: (954) 467-7900                Fax: (813) 225-3039
                                    Fax: (954) 467-1024

  Dated: May 18, 2018               Dated: May 18, 2018                Dated: May 18, 2018
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                  Case Number: 9-18-cv-80257-RLR

  MABELLE MEYAART
  a/k/a MAI MEYAART,

         Plaintiff,

  v.

  TRAVEL LEADERS GROUP, LLC,
  d/b/a and s/k/a TRAVEL LEADERS GROUP,
  NINAN CHACKO and JOHN LOVELL

        Defendants.
  ______________________________________/

                             AGREED CONFIDENTIALITY ORDER

         THIS CAUSE came before the Court on the Parties’ Joint Stipulation for Entry of Agreed

  Confidentiality Order and the Court, having been advised that the Parties agree to the entry of this

  Order, having reviewed the pleadings and being otherwise advised in the premises, it is hereby

         ORDERED and ADJUDGED:

         1.      Scope. All materials produced or adduced in the course of discovery, including

  documents produced, information derived directly therefrom (hereinafter collectively

  “documents” as defined below) and deposition testimony, shall be subject to this Order concerning

  confidential information as defined below.


         2.      As used herein, the following words have the meanings set forth below:


                 a) “this action” and “this litigation” means the above-captioned action (as

                      amended, from time to time, if applicable);




                                                                                            EXHIBIT 1
                                                   1
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              b) “party” means any person or entity named as a party in this action and any heir,

                   successor or assign of such person or entity;


              c) “disclosed,” “furnished” or “submitted” means, without limitation, divulged,

                   revealed, produced, described, transmitted or otherwise communicated, in

                   whole or in part;


              d) “documents” shall refer to any documents produced during the course of

                   discovery in this case by any of the Parties;


              e)   “copies” includes electronic images, duplicates, extracts, summaries or

                   descriptions that contain confidential information.


              f) “non-public documents” means those documents that have not already been

                   disseminated to the public, recorded or filed in a public or governmental data

                   base available to the public, or provided to a public agency obligated to provide

                   copies of such documents to the public upon request pursuant to a public records

                   law.


              g) “confidential information” means information designated during the course of

                   this litigation as “Confidential” by the producing party, and which falls within

                   one or more of the following categories (i) information prohibited from

                   disclosure by statute; (ii) information that reveals trade secrets; (iii) research,

                   technical, commercial or financial information that the party has maintained as

                   confidential; (iv) personnel or employment records of a person who is not a

                   party to the case; (v) deposition testimony identified on the record or through a

                   Notice of Designation as “Confidential;” (vi) personal identity information;


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                     (vii) income tax returns (including attached schedules and forms); and W-2

                     forms and 1099 forms.


         3.      This Agreed Confidentiality Order shall apply to all documents produced and/or

  confidential information disclosed by the Parties during the course of the litigation.


         4.      Deposition testimony is protected by this Order when designated as “Confidential”

  on the record at the time the testimony is taken or within 30 days after the delivery of the transcript

  by the court reporter to the party disclosing the information. Within 30 days after delivery of the

  transcript to the party disclosing the information, the designating party may serve a Notice of

  Designation to all parties of record identifying specific portions of the transcript that are designated

  as confidential information, and thereafter those portions identified in the Notice of Designation

  shall be protected under the terms of this Order.


         5.      The non-public documents stamped “Confidential” and the confidential

  information designated or identified as “Confidential” subject to this Agreed Confidentiality Order

  shall not be disclosed to any person other than:


                 a) Attorneys for the parties to this action, including in-house attorneys, and

                     support personnel (including paralegals and clerical support);


                 b) Each party, including such party’s officers, directors, partners, employees,

                     members and managing agents who are directly involved with or have an

                     interest in the conduct of this action;


                 c) Witnesses and potential witnesses in this action to whom disclosure is reasonably

                     necessary, including disclosure during their depositions. Witnesses shall not

                     retain a copy of documents containing confidential information, except

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                   witnesses may receive a copy of all exhibits marked at their depositions in

                   connection with review of the transcripts. Pages of transcribed deposition

                   testimony or exhibits to depositions that are designated as confidential

                   information pursuant to the process set out in this Order must be separately

                   bound by the court reporter and may not be disclosed to anyone except as

                   permitted under this Order;


              d) Consultants, investigators, or experts employed by the parties or counsel for the

                   parties to assist in the preparation and trial of this action;


              e) Qualified persons taking testimony involving such information or documents

                   and necessary stenographic and clerical personnel thereof;


              f) Independent experts retained for preparation of this litigation;


              g) The Court, the officers of the Court and such other personnel as may be

                   authorized by the Court;


              h) Contractors. Those persons specifically engaged for the limited purpose of

                   making copies of documents or organizing or processing documents, including

                   outside vendors hired to process electronically stored information;


              i)   Author or recipient. The author or recipient of the document (not including a

                   person who received the document in the course of litigation);


              j) Others by Consent. Other persons only by written consent of the producing

                   party or upon order of the Court and on such conditions as may be agreed or

                   ordered.



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         6.      The documents and/or confidential information shall not be disclosed to those

  identified in paragraphs 5(c), 5(d), 5(h), 5(i), and 5(j), until after such persons have completed a

  certification of an Acknowledgment of Understanding and Agreement to Be Bound in the form

  attached hereto as Exhibit “A”. All individuals listed in paragraphs 5(b) and 5(f) will be informed

  of the duty to maintain confidentiality under this Order prior to any disclosure.


         7.      In addition, the documents and/or confidential information must remain in the

  custody and control of the attorney(s) (including outside counsel of record and in-house counsel)

  to whom they are produced or non-employee experts of the parties for use in the preparation and

  prosecution of the party’s claims or defenses in this action. Only counsel of record to this action,

  in-house counsel and non-employee experts may review documents stamped “Confidential.” No

  party, absent a Court order, may copy, review or maintain possession of any documents stamped

  “Confidential.”


         8.      The documents and/or confidential information shall be used solely in connection

  with pretrial proceedings, preparation for trial, trial, or other proceedings in this litigation. The

  documents and/or confidential information shall not be used for any other purpose, including but

  not limited to, business, governmental, media, commercial, administrative, unrelated judicial

  proceedings, or any other purpose whatsoever by any person or entity having access to such

  material.   Filing of, reference to, or use of documents including any documents marked

  “Confidential,” in connection with or in support of or opposition to any pretrial motion(s) in this

  action shall not be deemed a violation of this Order.


         9.      The Party producing confidential documents or disclosing confidential information

  shall mark the documents or identify the confidential information intended to be confidential as

  “Confidential” in a manner that will not interfere with the legibility of the document prior to

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  disclosure or within the timeframe identified in paragraph 3 with respect to any Notice of

  Designation. The designation of a document as Confidential Information is a certification by an

  attorney or a party appearing pro se that the document contains Confidential Information as

  defined in this order.


         10.     Before any individual described in paragraph nos. 6 (b-j) hereof may be permitted

  access to the documents so marked or confidential information so designated, such individual shall

  have been advised by counsel of the existence of this Agreed Confidentiality Order and shall have

  been advised that violation of the terms of the order may result in court-imposed sanctions.

  Counsel for a party who intends to make disclosure of the documents or confidential information

  to any individual described in subparagraphs 6 (b-j) shall be responsible for so advising the

  individual and shall so represent to the Court or to counsel for any other party upon request. Any

  party who objects to the designation by any other party of any document(s) or confidential

  information as “Confidential” may request, at any time during the pendency of this litigation,

  through and including trial, that the designation be removed by the Court.


         11.     In the event a party wishes to file confidential information with the Court, that party

  shall first consult with the party who designated such material as confidential to determine whether

  agreement may be reached on an informal basis to file such material without filing under seal.

  Upon expiration of five (5) calendar days, if no agreement is reached, the non-filing party shall

  move to permit the filing of the confidential information at issue under seal following the

  Procedure for Filings Under Seal contained under Local Rule 5.4.


         12.     Upon the conclusion of the trial and of any appeals or upon other final disposition

  of this action, the confidential documents (and all copies, abstracts, or compilations thereof)

  received under the provisions of this Agreed Confidentiality Order shall be returned to the

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  producing Party’s counsel, or, in the alternative, shall be destroyed unless: (1) the document has

  been offered into evidence or filed without restriction as to disclosure; (2) the parties agree to

  destruction to the extent practicable in lieu of return. Documents returned should be the producing

  party’s cost; documents destroyed should be at the receiving party’s cost. The provisions of this

  Agreed Confidentiality Order insofar as they restrict the communication and use of the documents

  shall, absent written permission of the producing Party or further order of the Court, continue to

  be binding on all persons subject to the terms of this Agreed Confidentiality Order,

  notwithstanding the entry of any judgment or dismissal herein. Notwithstanding the provisions of

  this Agreed Confidentiality Order, upon dismissal of this action, a party which produced a

  document and designated it as Confidential or disclosed confidential information pursuant to this

  Order during the course of this action may use his/her/its document and/or confidential information

  after such dismissal as if this Order had not been entered, provided that such person/entity is

  otherwise legally permitted to use such document and/or confidential information. If the document

  and/or confidential information were misappropriated from another, nothing in this Order or

  paragraph is intended or should be interpreted to mean the document or confidential information

  may be used.


         13.     Retention of Work Product and one set of Filed Documents. Notwithstanding the

  above requirements to return or destroy documents, counsel may retain (1) attorney work product,

  including an index that refers or relates to designated confidential information so long as that work

  product does not duplicate verbatim substantial portions of confidential information, and (2) one

  complete set of all documents filed with the Court including those filed under seal. Any retained

  confidential information shall continue to be protected under this Order. An attorney may use his




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  or her work product in subsequent litigation, provided that its use does not disclose, reproduce or

  use the confidential information.


         14.     If any party receives a subpoena seeking or court order requiring the production of

  the documents or disclosure of confidential information, that party shall give notice within five (5)

  business days of receipt of such subpoena or court order to the producing Party, and in no event

  less than two business days prior to time for production of the documents or disclosure of the

  confidential information pursuant to the subpoena or court order. Upon giving such notice, and in

  the absence of a court order preventing the production of the documents and/or disclosure of the

  confidential information, the party receiving the subpoena or court order may comply therewith

  without violating this Agreed Confidentiality Order.


         Where notice to the Plaintiff, Mabelle Meyaart, is required under this Agreed

  Confidentiality Order, such notice shall be forwarded to: Attorneys for Plaintiff, Steven L.

  Schwarzberg, Esq., steve@schwarzberglaw.com, Schwarzberg & Associates, 2751 S. Dixie

  Highway, Ste. 400, West Palm Beach, FL 33405. Where notice to Defendant, Travel Leaders

  Group, LLC, is required under this Agreed Confidentiality Order, such notice shall be forwarded

  to Attorney for Defendant, Travel Leaders Group, LLC, Cheryl L. Wilke, Esq.,

  cwilke@hinshawlaw.com, Hinshaw & Culbertson LLP, One East Broward Boulevard, Ste. 1010,

  Ft. Lauderdale, FL 33301. Where notice to Defendants, Ninan Chacko and/or John Lovell, is

  required under this Agreed Confidentiality Order, such notice shall be forwarded to Attorney for

  Defendants,     Ninan     Chacko      and    John      Lovell,   Kelly     B.    Holbrook,     Esq.,

  kholbrook@broadandcassel.com, Broad and Cassel LLP, 100 North Tampa Street, Ste. 3500,

  Tampa, Florida 33602.




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          15.     The designation as “Confidential” of the documents and/or confidential

   information in accordance with this Agreed Confidentiality Order is intended solely to facilitate

   the preparation and trial of this action. Such designation shall not be construed as an admission or

   concession that the designated information contains trade secrets or proprietary business

   information or is otherwise confidential. Conversely, failure to so designate any information shall

   not constitute a waiver of any claim outside this litigation that such writings or confidential

   information do contain trade secrets, proprietary information or are otherwise confidential. Except

   on privilege grounds not addressed by this Order, no party may withhold information from

   discovery on the ground that it requires protection greater than that afforded by this Order unless

   the party moves for an order providing such special protection.


          16.     Challenges by a Party to Designation as confidential information. The designation

   of any material or document as Confidential Information is subject to challenge by any party. The

   following procedure shall apply to any such challenge.


                  a) Meet and Confer. A party challenging the designation of confidential

                      information must do so in good faith and must begin the process by conferring

                      directly with counsel for the designating party. In conferring, the challenging

                      party must explain the basis for its belief that the confidentiality designation

                      was not proper and must give the designating party an opportunity to review

                      the designated material, to reconsider the designation, and, if no change in

                      designation is offered, to explain the basis for the designation. The designating

                      party must respond to the challenge within five (5) business days.


                  b) Judicial Intervention. A party that elects to challenge a confidentiality

                      designation may file and serve a motion that identifies the challenged material

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                      and sets forth in detail the basis for the challenge. Each such motion must be

                      accompanied by a competent declaration that affirms that the movant has

                      complied with the meet and confer requirements of this procedure. The burden

                      of persuasion in any such challenge proceeding shall be on the designating

                      party. Until the Court rules on the challenge, all parties shall continue to treat

                      the materials as confidential information under the terms of this Order.


           17.    Any discovery material that is inadvertently produced without designation as to its

   confidential nature may be designated confidential discovery material by the producing party

   within a reasonable period following the discovery that such material has been produced without

   such designation. However, deposition testimony that are not identified as “Confidential” through

   a Notice of Designation within the timeframe specified in paragraph 3 will act as a waiver of the

   protection of the deposition testimony.


           18.    Prior to the trial of this case, the parties shall confer and agree upon the best means

   to preserve the confidentiality of the documents and/or confidential information during the trial of

   this action.


           19.    Neither the mere entry of this Agreed Confidentiality Order nor the Parties’

   agreeing to its entry shall: a) constitute any waiver of any claims or defenses by any Party in this

   action; b) be construed as imposing a duty upon any party to produce documents or information;

   or c) be understood to be pre-determination by the Court as to the production of any particular

   documents or confidential information.




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           20.    Persons Bound. This Order shall take effect when entered and shall be binding upon

   all counsel of record and their law firms, the parties, and persons made subject to this Order by its

   terms


           21.    This Order is made based upon agreements of the parties and for the purpose of

   facilitating discovery.


           DONE AND ORDERED, in Chambers in West Palm Beach, Palm Beach County,

   Southern District of Florida this ____ day of May, 2018.

                                                 ____________________________________
                                                 ROBIN ROSENBERG
                                                 UNITED STATES DISTRICT JUDGE




   Copies Furnished to:

    Steven L. Schwarzberg, Esq.      Cheryl L. Wilke, Esq.          Kelly B. Holbrook, Esq.
    steve@schwarzberglaw.com         cwilke@hinshawlaw.com          kholbrook@broadandcassel.com
    SCHWARZBERG &                    HINSHAW &                      BROAD AND CASSEL LLP
    ASSOCIATES                       CULBERTSON LLP                 100 North Tampa Street
    2751 S. Dixie Highway            One East Broward               Suite 3500
    Suite 400                        Boulevard Suite 1010           Tampa, Florida 33602
    West Palm Beach, FL 33405        Ft. Lauderdale, FL 33301       Tel: (813) 225-3020
    Tel: (561) 659-3300              Tel: (954) 467-7900            Fax: (813) 225-3039
    Fax: (561) 693-4540              Fax: (954) 467-1024            Attorney for Defendants, Ninan
    Attorneys for Plaintiff, Mrs.    Attorneys for Defendant,       Chacko and John Lovell
    Meyaart                          Travel Leaders Group, LLC




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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                  Case Number: 9-18-cv-80257-RLR

   MABELLE MEYAART
   a/k/a MAI MEYAART,

          Plaintiff,

   v.

   TRAVEL LEADERS GROUP, LLC,
   d/b/a and s/k/a TRAVEL LEADERS GROUP,
   NINAN CHACKO and JOHN LOVELL

         Defendants.
   ______________________________________/

                 Acknowledgment of Understanding and Agreement to Be Bound

          I, ___________________, have received a copy of the Agreed Confidentiality Order

   entered in the above-captioned case and agree to abide by all provisions contained therein.


                                                Name:

                                                Signature:

                                                Date:


   STATE OF ________________            )
                                        )       ss:
   COUNTY OF ______________             )

          BEFORE ME, the undersigned authority, personally appeared ____________________,
   who, after having been duly sworn, states that he/she has read and fully understands the
   interrogatories and that the foregoing answers to interrogatories are true and correct. He/she
   personally appeared before me; [         ] is personally known to me, or [       ] has produced
   _________________________ as identification, and [ ] did or [ ] did not take an oath.




                                                  12                                             EXHIBIT A
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         WITNESS my hand and official seal in the County and State last aforesaid this _____

   day of ______________________, 2018.



                                             Notary:
         [NOTARIAL SEAL]
                                             Print Name:

                                             My commission expires:




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